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 7
 8                   IN THE UNITED STATES DISTRICT COURT
 9                FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
11   JESSICA TAPIA, an individual;                  Case No.: 5:23-cv-00789-FMO-E

12                Plaintiff,                        FIRST AMENDED VERIFIED
13                                                  COMPLAINT FOR INJUNCTIVE
           v.                                       AND DECLARATORY RELIEF
14                                                  AND DAMAGES:

15   JURUPA UNIFIED SCHOOL                            1) DEPRIVATION OF THE
     DISTRICT; TRENTON HANSEN,                           FREE EXERCISE OF
16   both in his personal capacity and in his            RELIGION
17   official capacity as the Jurupa Unified          2) DEPRIVATION OF THE
     School District Superintendent;                     FREEDOM OF SPEECH
18   DANIEL BROOKS, both in his                       3) VIOLATION OF THE DUE
19   personal capacity and in his official               PROCESS CLAUSE
     capacity as Jurupa Unified School                4) VIOLATION OF
20   District Assistant Superintendent;                  CALIFORNIA’S FAIR
21                                                       EMPLOYMENT AND
                  Defendants.                            HOUSING ACT
22                                                    5) VIOLATION OF TITLE VII
23                                                    6) FIRST AMENDMENT
                                                         RETALIATION
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                                FIRST AMENDED VERIFIED COMPLAINT
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                                     1                                      INTRODUCTION
                                     2         1.     This Action brings facial and as applied constitutional challenges to a
                                     3   number of directives the Jurupa Unified School District (“JUSD” or “the District”)
                                     4   required Plaintiff Jessica Tapia (“Ms. Tapia”) to comply with to maintain her career
                                     5   as a physical education teacher.
                                     6         2.     For over two decades, Ms. Tapia has been a beloved and involved
                                     7   member of the JUSD as a student, teacher, and coach. She has invested her entire
                                     8   career into encouraging, loving, and mentoring her students. Students, parents, and
                                     9   faculty have often highlighted her exemplary teaching abilities. Her performance
                                    10   reviews even referred to her as a “distinguished” teacher.
                                    11         3.     But on September 30, 2022, Ms. Tapia was blindsided when the District
                                    12   gave her a Notice of Unprofessional Conduct and notified her that pursuant to
                                    13   California Education Code section 44938, she had engaged in unprofessional
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                                    14   conduct. JUSD issued twelve meritless allegations against Ms. Tapia.
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                                    15         4.     Among the allegations, the District accused Ms. Tapia of posting
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                                    16   offensive content on her public Instagram account, referencing her faith during
                                    17   conversations with students, and expressing controversial opinions on issues
                                    18   pertaining to gender identity.
                                    19         5.     Following the Notice of Unprofessional Conduct, the District presented
                                    20   Ms. Tapia with a “A Plan of Assistance and Directives.” The directives required Ms.
                                    21   Tapia lie to parents about their children’s gender identity, refer to students by their
                                    22   preferred pronouns, refrain from expressing her religious beliefs with students or on
                                    23   her social media, and allow students to use the bathroom or locker room that matched
                                    24   their preferred sex.
                                    25         6.     Because Ms. Tapia was unable to comply with the directives due to her
                                    26   religious beliefs, she requested an accommodation from the District. JUSD refused
                                    27   to provide her with any accommodation and subsequently terminated her
                                    28   employment with the District.
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                                     1          7.    JUSD’s actions violate Ms. Tapia’s First Amendment rights to free
                                     2   exercise and free speech, as well as her rights under Title VII of the Civil Rights Act
                                     3   of 1964, which prohibits discrimination on the basis of religion.
                                     4          8.    Ms. Tapia brings this Complaint to vindicate her constitutional and civil
                                     5   rights to act in accordance with her sincerely held religious beliefs.
                                     6                                 PARTIES - PLAINTIFF
                                     7          9.    Plaintiff JESSICA TAPIA resides in Riverside County, California.
                                     8                               PARTIES - DEFENDANT
                                     9          10.   Defendant JURUPA UNIFIED SCHOOL DISTRICT is a school
                                    10   district in Riverside County, California.
                                    11          11.   Defendant TRENTON HANSEN is the Jurupa Unified School District
                                    12   Superintendent. Defendant Hansen is responsible for adopting and implementing
                                    13   JUSD’s policies and practices challenged in this lawsuit. He is sued in both his
             FOR FA ITH & FREEDOM
     ADVOCATES




                                    14   official and personal capacities for both implementing and adopting the challenged
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                                    15   policies and practices and refusing to extend an exemption or accommodation to
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                                    16   Plaintiff.
                                    17          12.   Defendant DANIEL BROOKS is the Jurupa Unified School District
                                    18   Assistant Superintendent. Defendant Brooks is responsible for adopting and
                                    19   implementing JUSD’s policies and practices challenged in this lawsuit. He is sued
                                    20   in both his official and personal capacities for both implementing and adopting the
                                    21   challenged policies and practices and refusing to extend an exemption or
                                    22   accommodation to Plaintiff.
                                    23                             JURISDICTION AND VENUE
                                    24          13.   This civil rights action raises federal questions under the United States
                                    25   Constitution, specifically the First and Fourteenth Amendments, and under federal
                                    26   law, particularly 42 U.S.C. § 1983.
                                    27          14.   This Court has subject matter jurisdiction over the federal claims
                                    28   pursuant to 28 U.S.C. §§ 1331 and 1343.
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                                     1          15.     This Court has supplemental jurisdiction over the state claim pursuant
                                     2   to 28 U.S.C. § 1367.
                                     3          16.     This Court has authority to grant the requested declaratory relief under
                                     4   the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, implemented through
                                     5   Rule 57 of the Federal Rules of Civil Procedure. This Court is also authorized to
                                     6   grant injunctive relief and damages under 28 U.S.C. § 1343, pursuant to Rule 65 of
                                     7   the Federal Rules of Civil Procedure, and reasonable attorney’s fees and costs under
                                     8   42 U.S.C. § 1988.
                                     9          17.     Venue is proper in this Court under 28 U.S.C. § 1391(b)(2) because a
                                    10   substantial part of the events or omissions giving rise to Plaintiff’s claims occurred
                                    11   in this district.
                                    12                                STATEMENT OF FACTS
                                    13      A. Ms. Tapia’s Background and Employment History
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                                    14          18.     After her own formative experience at Jurupa Valley High School as a
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                                    15   student, Ms. Tapia developed a strong desire to teach and mentor students at JUSD.
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                                    16   Her passion for both teaching and sports led Ms. Tapia to pursue a physical education
                                    17   teaching position at the high school.
                                    18          19.     Since 2014, Ms. Tapia has worked for JUSD in varying capacities.
                                    19          20.     From 2014 to 2016, Ms. Tapia served as a resident substitute teacher at
                                    20   Jurupa Valley High School, teaching various subjects.
                                    21          21.     In 2015, while working toward her teaching credentials, Ms. Tapia
                                    22   began student teaching a physical education (“P.E.”) class and coaching the girls’
                                    23   basketball and softball teams at Jurupa Valley High School.
                                    24          22.     In 2016, after earning her teaching credential, Ms. Tapia accepted a
                                    25   full-time teaching position at Jurupa Valley High School in the Agricultural
                                    26   Department. She accepted the position with the mutual understanding between her
                                    27   and the District, that should a P.E. position open, the District would transfer her to
                                    28   that position.
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                                     1         23.    In 2017, the District informed Ms. Tapia of an available P.E. position
                                     2   at Mira Loma Middle School, the same middle school she attended as a student.
                                     3         24.    From 2017 to 2021, Ms. Tapia taught P.E. at the middle school. While
                                     4   there, the principal noted that Ms. Tapia “distinguished herself among the rest by
                                     5   always focusing on her student’s mind, body and heart….She is a caring, positive,
                                     6   kind, student-centered teacher that has motivated her students to excel in ways that
                                     7   are unconventional.” A true and correct copy of a letter sent by Principal Mary
                                     8   Boules is attached hereto as Exhibit A.
                                     9         25.    The principal further emphasized that “[h]er students absolutely ‘love’
                                    10   her and when you interact with Mrs. Tapia it is very clear and easy to see exactly
                                    11   why. Her positive attitude and high expectations make her students believe in
                                    12   themselves and therefore strive to achieve their potential.” Id.
                                    13         26.    In 2021, Ms. Tapia transferred back to Jurupa Valley High School and
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                                    14   began working as the sole female P.E. teacher at the high school.
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                                    15         27.    Ms. Tapia has received positive performance evaluations, which
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                                    16   confirm that she “encourages the students to give their best effort in the learning of
                                    17   new activities and drills.” A true and correct copy of the JUSD performance
                                    18   evaluation is attached hereto as Exhibit B.
                                    19         28.    Her performance evaluations also state that Ms. Tapia “has a calm and
                                    20   caring demeanor for her students” and is an “asset to the PE department and to the
                                    21   students she teachers.” Id.
                                    22      B. Ms. Tapia’s Religious Beliefs
                                    23         29.    As a Christian, Ms. Tapia believes that God defines human sexuality,
                                    24   and that men and women are created in the image of God. Her religion also holds
                                    25   that God created two sexes: male and female.
                                    26         30.    As a result of her faith, Ms. Tapia also believes that all students,
                                    27   regardless of sexual orientation, race, or gender, should be treated with respect,
                                    28   kindness, and love. But her faith precludes her from endorsing policies that cause
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                                     1   her to reject her faith, such as facilitating a student’s gender transition or withholding
                                     2   information about it from the student’s parents.
                                     3          31.   Ms. Tapia believes that the relationship between parents and children
                                     4   was created by God, and God requires parents to “train up a child in the way he
                                     5   should go; even when he is old he will not depart from it.” Proverbs 22:6.
                                     6          32.   Ms. Tapia has never proselytized, nor has she discussed her religious
                                     7   beliefs with students unless they have approached her and asked her questions about
                                     8   her faith.
                                     9          33.   As an employee of JUSD, Ms. Tapia, at times, allowed students to listen
                                    10   to any music or podcast of their choosing during her P.E. classes. Ms. Tapia would
                                    11   often listen to worship music during this time from her phone, but she kept the sound
                                    12   levels at a minimum in case any of her students needed to get her attention.
                                    13          34.   Ms. Tapia has regularly posted quotes, Bible verses, and her religious
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                                    14   beliefs regarding cultural issues on her personal social media pages without any
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                                    15   issues. She does not identify herself as a teacher or an employee of the District on
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                                    16   her social media pages. She does not indicate that her beliefs or opinions are
                                    17   representative of the District’s.
                                    18      C. JUSD’s Allegations and Directives
                                    19          35.   Two days before the end of the 2021-2022 school year, Ms. Tapia
                                    20   received disturbing messages and comments on her personal Instagram account from
                                    21   alleged Jurupa Valley High School students.
                                    22          36.   When she came to school the next day after receiving these messages
                                    23   and comments, during third period, one of the high school principals pulled her out
                                    24   of the classroom and told her she needed to meet with Assistant Superintendent of
                                    25   Human Resources Daniel Brooks (“Mr. Brooks).
                                    26          37.   Mr. Brooks informed Ms. Tapia that some issues had been brought to
                                    27   the District’s attention regarding her personal social media posts. Mr. Brooks told
                                    28   Ms. Tapia that she would be placed on paid administrative leave and that she would
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                                     1   need to leave the school campus until further notice.
                                     2         38.    On July 29, 2022, Mr. Brooks, as authorized by Superintendent Trenton
                                     3   Hansen, sent Ms. Tapia numerous, unfounded allegations the District was in receipt
                                     4   of and asked her to respond to them as part of an internal investigation.
                                     5         39.    The allegations, in part, were premised on social media posts Ms. Tapia
                                     6   made on her personal Instagram account.
                                     7         40.    The District claimed, as allegedly supported by students, that Ms.
                                     8   Tapia’s social media posts were racist, offensive, disrespectful, and mocking
                                     9   towards individuals based upon their sexual orientation.
                                    10         41.    These allegations were a mischaracterization of who Ms. Tapia is. Ms.
                                    11   Tapia’s faith requires her to love all people, regardless of sexual orientation, race, or
                                    12   gender.
                                    13         42.    In fact, Ms. Tapia has been adored by students and parents throughout
             FOR FA ITH & FREEDOM
     ADVOCATES




                                    14   her teaching career because she invests time into mentoring and caring for each
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                                    15   student in her classroom.
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                                    16         43.    Ms. Tapia is unabashed about her faith, though, and shares her religious
                                    17   beliefs on issues such as marriage, sexual orientation, and transgenderism. Her
                                    18   beliefs are based upon the Bible.
                                    19         44.    JUSD also accused Ms. Tapia of proselytizing during P.E. class.
                                    20         45.    Again, Ms. Tapia does not force her beliefs upon others. She has
                                    21   provided information related to her faith when asked by students.
                                    22         46.    The District also accused Ms. Tapia of not calling a student by the
                                    23   student’s preferred pronoun.
                                    24         47.    Ms. Tapia has never been asked to refer to students by their preferred
                                    25   pronouns and has never referred to students by their preferred pronouns in the past,
                                    26   and it was not an issue until JUSD became aware of her beliefs on social media. Ms.
                                    27   Tapia’s refusal to refer to a student’s preferred pronoun did not create a hostile
                                    28   environment or disrupt her classroom.
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                                     1         48.     The District did not discipline or call in for questioning other teachers
                                     2   who were expressing their political and religious beliefs on their social media pages
                                     3   during the same time of the accusations levied against Ms. Tapia.
                                     4         49.     On or about August 15, 2022, John Vigrass (“Mr. Vigrass”), Ms.
                                     5   Tapia’s union representative, submitted a response to the District’s allegations on
                                     6   behalf of Ms. Tapia categorically denying any wrongdoing.
                                     7         50.     In this response, Mr. Vigrass warned the District that “[s]ubjecting
                                     8   employees to a political or social litmus test and proposing to discipline them for
                                     9   off-duty, legally protected speech has historically proven to be unwise.”
                                    10         51.     Mr. Vigrass reiterated that Ms. Tapia “on her own time with her own
                                    11   resources [] posted content.”
                                    12         52.     On or about September 30, 2022, Ms. Tapia attended a meeting with
                                    13   District representatives during which she received a Notice of Unprofessional
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                                    14   Conduct (“Notice”) signed by Mr. Brooks. On information and belief, Mr. Hansen
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                                    15   authorized this letter.
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                                    16         53.     JUSD advised Ms. Tapia that while the Notice was being issued
                                    17   pursuant to Education Code section 44938 for unprofessional conduct, her “conduct
                                    18   may also constitute other violations of Education Code section 44932, such as
                                    19   evident unfitness for service, immoral conduct, and/or persistent violation of or
                                    20   refusal to obey the school laws of the state and reasonable regulations of the
                                    21   District’s School Board.”
                                    22         54.     The District improperly concluded Ms. Tapia violated the California
                                    23   Education Code section 220 and CDE Board Policies 5145.3, 5145.9, and 4119.21
                                    24   (“Board Policies”).
                                    25         55.     CDE Board Policy 5145.3 protects against discrimination and
                                    26   harassment.
                                    27         56.     CDE Board Policy 5145.9 requires school districts to provide “a
                                    28   respectful, inclusive, and safe learning environment that protects students from
                                                                                    8
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                                     1   discrimination, harassment, intimidation, bullying or any other type of behavior that
                                     2   is motivated by hate.”
                                     3         57.    The District also reminded Ms. Tapia of Board Policy 4119.21, Code
                                     4   of Ethics of the Education Profession, which states in relevant part: “The educator,
                                     5   believing in the worth and dignity of each human being recognizes the supreme
                                     6   importance of the pursuit of truth, devotion to excellence, and the nurturing of
                                     7   demographic principles. Essential to these goals is the protection of freedom to learn
                                     8   and to teach and the guarantee of equal educational opportunity for all.”
                                     9         58.    JUSD also concluded, without any merit, that Ms. Tapia’s conduct
                                    10   “demonstrate[d] a lack of good behavior and judgment.”
                                    11         59.    To “cure” her “deficiencies,” the District directed Ms. Tapia to refer to
                                    12   students by their preferred gender pronouns; refrain from publicly posting her faith
                                    13   and opinions on social media; and refrain from discussing her religious beliefs or the
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                                    14   Bible with students.
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                                    15         60.    The Notice also directed Ms. Tapia to agree to vague directive like
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                                    16   treating students with respect and dignity, using good judgment when interacting
                                    17   with students, acting in a professional manner while at work, and complying with
                                    18   the aforementioned Board Policies and Education Code section 220.
                                    19         61.    At the September 30 meeting, the District also vocally directed Ms.
                                    20   Tapia “to withhold information and lie to parents about their student’s
                                    21   name/gender/pronoun preference.”
                                    22         62.    The District also informed Ms. Tapia that she had to allow transgender
                                    23   students to use the bathroom or locker room that matched their preferred sex.
                                    24         63.    School districts are given discretion when applying the Board Policies
                                    25   and Education Code section 220. JUSD interprets these sections to mean that all
                                    26   teachers must affirm a child’s preferred gender and allow them to use the locker
                                    27   room or bathroom of their choice.
                                    28         64.    The directives outlined in the Notice are hereinafter referred to as “the
                                                                                   9
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                                     1   Directives.”
                                     2         65.      The Directives were presented to Ms. Tapia in a take-it-or-leave-it
                                     3   manner. Ms. Tapia had to comply with the Directives or risk losing her job.
                                     4         66.      Following this meeting and the issuance of the Notice, Ms. Tapia took
                                     5   a medical leave of absence and was absent from duty through December 2022.
                                     6         67.      The Directives caused Ms. Tapia to suffer severe mental and emotional
                                     7   anguish because she was torn between agreeing to conditions that caused her to
                                     8   violate her religious beliefs or losing the job she worked her entire life for.
                                     9   Consequently, she was unable to focus on her job.
                                    10      D. JUSD’s Denial of Request for a Religious Accommodation
                                    11         68.      On or about December 19, 2022, Ms. Tapia, through her union
                                    12   representative, informed the District that she could not comply with the Directives.
                                    13   A true and correct copy of Ms. Tapia’s letter is attached hereto as Exhibit C.
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                                    14         69.      Regarding Directive 1, Ms. Tapia stated, “Staying true to my faith and
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                                    15   beliefs, I can and will only refer to students by the name and gender/pronouns
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                                    16   provided by their parents/legal guardians on school paperwork during enrollment,
                                    17   which is provided to me on my rosters/attendance sheets.” Id.
                                    18         70.      Regarding Directive 3, Ms. Tapia stated that she could not “refrain from
                                    19   publicly posting content on [her] social media pages that adversely affects [her]
                                    20   relationships with students” as she does not “have control over what a student can
                                    21   find on social media and what they will decide to be affected by.” Id.
                                    22         71.      Regarding Directive 5, Ms. Tapia stated that she “serve[s], follow[s],
                                    23   and work[s] for the Lord above all else.” While Ms. Tapia does not force her
                                    24   religious beliefs on anyone, consistent with her religious beliefs, she believes she
                                    25   must always be “prepared with an answer for the hope [she has], for anyone who
                                    26   comes asking.” Id.
                                    27         72.      Regarding the verbal directive, Ms. Tapia stated that she could not
                                    28   “purposely lie and withhold information from parents about their child.”
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                                     1         73.      On January 13, 2023, Ms. Tapia, her union representative, and Mr.
                                     2   Brooks participated in a meeting to determine whether accommodations or
                                     3   exemptions were available to Ms. Tapia. During this meeting, Mr. Brooks requested
                                     4   that Ms. Tapia submit accommodation requests.
                                     5         74.      On or about January 16, 2023, Ms. Tapia responded to Mr. Brooks with
                                     6   the following potential accommodations:
                                     7               1. To call students by the name listed on the school roster.
                                     8               2. To transfer to Mira Loma Middle School.
                                     9               3. The District require students to use the locker room that matches the
                                    10                  sex on their birth certificate or provide a separate changing area for
                                    11                  students who are transgender.
                                    12               4. To transfer to another position in the District in which she would not
                                    13                  interact with students.
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                                    14         75.      On or about January 18, 2023, the District determined that it could not
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                                    15   accommodate Ms. Tapia’s religious beliefs without violating California and federal
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                                    16   law, “aimed at protecting students and providing all students, a discrimination and
                                    17   harassment free learning environment.”
                                    18         76.      The District scheduled a meeting for January 27, 2023 to determine
                                    19   whether Ms. Tapia could remain a District employee without infringing on her
                                    20   religious beliefs.
                                    21         77.      On or about January 26, 2023, Ms. Tapia submitted a letter to the
                                    22   District which further explained her religious beliefs.
                                    23         78.      In this letter, Ms. Tapia informed the District that lying to parents
                                    24   regarding their children’s identity also conflicts with Board Policy 5131.9, which
                                    25   requires that District employees create and maintain a climate that encourages
                                    26   honesty.
                                    27         79.      The District did not negotiate with Ms. Tapia in good faith to find an
                                    28   alternative accommodation, nor did the District suggest that no other
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                                     1   accommodation was available.
                                     2            80.   The District had no legitimate reason to deny all of Ms. Tapia’s
                                     3   requested accommodations.
                                     4            81.   The District’s findings were not based on evidence or made in good
                                     5   faith.
                                     6            82.   First, the District provided no evidence that calling students by their
                                     7   listed name on the school roster would impose a burden. The District did not
                                     8   demonstrate that such an accommodation has or will disrupt school learning or
                                     9   prevent JUSD from efficiently providing its educational services to the public.
                                    10            83.   Similarly, the District did not demonstrate that transferring Ms. Tapia
                                    11   to the middle school would impose a burden. The District assumed that Ms. Tapia’s
                                    12   requests would disrupt learning for transgender students at the middle school.
                                    13            84.   The District also has no legitimate basis for allowing students to use the
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     ADVOCATES




                                    14   locker room or bathroom that does not match their sex on their birth certificate.
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                                    15   Requiring students to use the bathroom and locker room that matches their sex on
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                                    16   their birth certificate would not interfere with the regular operations of the District.
                                    17            85.   Finally, JUSD cannot show that Ms. Tapia has or will discriminate
                                    18   against or harass students.
                                    19            86.   Indeed, Ms. Tapia’s teaching history demonstrates that she has created
                                    20   a loving and inclusive environment for all students.
                                    21            87.   Ms. Tapia would never discriminate or harass a student because of their
                                    22   sexual orientation, gender, or race. Again, her religion requires her to love everyone
                                    23   but to not affirm beliefs or behaviors that are antithetical to the Word of God.
                                    24            88.   The District’s decision to deny Ms. Tapia a religious accommodation
                                    25   was arbitrary and discriminatory.
                                    26            89.   Indeed, the Defendants were aware that this was discriminatory and
                                    27   violated their own district policy.
                                    28            90.   According to the District’s Annual Notification to Employees, “The
                                                                                     12
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                                     1   Jurupa Unified School District does not discriminate on the basis of . . . religion . . .
                                     2   in any of its policies, procedures or practices . . . .”
                                     3              91.   The Annual Notification to Employees also states, “No district
                                     4   employee shall be discriminated against or harassed by any coworker, supervisor,
                                     5   manager, or other person with whom the employee comes in contact in the course of
                                     6   employment, on the basis of the employee’s actual or perceived . . . religious creed
                                     7   . . . .”
                                     8              92.   Additionally, California state law prohibits religious discrimination in
                                     9   the educational context. See Cal. Educ. Code §§ 200, 220.
                                    10              93.   The District has previously provided religious accommodations and
                                    11   exemptions. For instance, during March 2023, the District implemented an LGBTQ
                                    12   training. Several teachers requested an exemption because the questions required
                                    13   them to agree to statements that violated their religious beliefs.
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                                    14              94.   JUSD granted them an exemption even though it had previously stated
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                                    15   the training was necessary to provide a safe and inclusive environment for all
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                                    16   students.
                                    17       E. JUSD’s Termination of Ms. Tapia’s Employment
                                    18              95.   On January 30, 2023, the District released Ms. Tapia from employment
                                    19   because she was unwilling to agree to the Directives that violated her sincerely held
                                    20   religious beliefs. The District specifically stated that because it could not
                                    21   accommodate Ms. Tapia’s religious beliefs, it had to release her.
                                    22              96.   The Defendants were aware that their conduct was unlawful because
                                    23   they were discriminating against Ms. Tapia based upon her religious beliefs.
                                    24              97.   The District’s Annual Notification to Employees states, “Actions and
                                    25   practices identified as unlawful” include “[r]eligious creed discrimination based on
                                    26   an employee’s religious belief or observance . . . or based on the district’s failure or
                                    27   refusal to use reasonable means to accommodate an employee’s religious belief,
                                    28   observance, or practice which conflicts with an employment requirement.”
                                                                                      13
                                                                       FIRST AMENDED VERIFIED COMPLAINT
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 1         98.    The         District’s       own          policies      note        that
 2   “[n]o employee who requests an accommodation for any protected characteristic
 3   listed in this policy shall be subjected to any punishment or sanction, regardless of
 4   whether the request was granted.”
 5         99.    After receiving the notice of her release, Ms. Tapia responded to the
 6   notice reiterating her religious beliefs regarding human sexuality and lying. She
 7   referenced Genesis 5:2 which states, “Male and female He created them, and He
 8   blessed them and named them man when they were created.”
 9         100. She also referenced Proverbs 12:22 which states, “Lying lips are an
10   abomination to the Lord, but those who act faithfully are his delight.”
11         101. Ms. Tapia told the District that her faith is the “very core” of who she
12   is and that she “will always be ready to share the answer for the hope” she has with
13   “anyone who comes asking, as stated . . . [she] must be prepared to do as a follower
14   of Christ in 1 Peter 3:15.”
15      F. Ms. Tapia’s Charge of Religious Discrimination with the EEOC
16         102. Ms. Tapia filed a complaint of religious discrimination with the Equal
17   Employment Opportunity Commission (EEOC) on February 8, 2023.
18         103. The U.S. Department of Justice issued a right-to-sue letter on March
19   20, 2023.
20         104. Ms. Tapia has also sought a right-to-sue letter with California’s
21   Department of Fair Employment and Housing.
22                                 FIRST CAUSE OF ACTION
23                      Violation of the Free Exercise Clause of the
24                  First Amendment to the United States Constitution
25                                     (42 U.S.C. § 1983)
26         105. Plaintiff re-alleges and incorporates by reference the allegations in the
27   preceding paragraphs 1 through 104, as if fully set forth herein.
28         106. The First Amendment’s Free Exercise Clause provides that “Congress
                                              14
                               FIRST AMENDED VERIFIED COMPLAINT
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                                     1   shall make no law respecting an establishment of religion or prohibiting the free
                                     2   exercise thereof.”
                                     3         107. The First Amendment guarantees Ms. Tapia’s right to freely exercise
                                     4   her religion.
                                     5         108. Plaintiff’s religious faith precludes her from complying with the
                                     6   Directives.
                                     7         109. The Directives, on their face and as applied, impose a substantial
                                     8   burden on Plaintiff’s free exercise of religion.
                                     9         110. The Directives, on their face and as applied, violate Ms. Tapia’s right
                                    10   to free exercise of religion because they force her to forego her religious beliefs to
                                    11   maintain public employment.
                                    12         111. The Directives, on their face and as applied, are not neutral and
                                    13   generally applicable.
             FOR FA ITH & FREEDOM
     ADVOCATES




                                    14         112. The District has applied the Directives in a discriminatory manner. For
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                                    15   instance, the District allows other teachers to discuss their political opinions during
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                                    16   class and on their social media.
                                    17         113. The District’s accommodation policy was not generally applicable
                                    18   because, as the Supreme Court recently reaffirmed, a policy that provides a
                                    19   “mechanism for individualized exemptions” is not generally applicable. Fulton v.
                                    20   City of Phila., 141 S. Ct. 1868, 1877 (2021).
                                    21         114. The District provides religious accommodations on an individualized
                                    22   basis. The District follows no objective, particularized criteria.
                                    23         115. The Directives, on their face and as applied, constitute unconstitutional
                                    24   conditions because they allow the District to deny Ms. Tapia public employment for
                                    25   exercising her religious beliefs. See Koontz v. St. Johns River Water Management
                                    26   Dist., 570 U.S. 595, 604 (2013).
                                    27         116. The Directives, on their face and as applied, are not narrowly tailored
                                    28   to meet any compelling government interest.
                                                                                   15
                                                                    FIRST AMENDED VERIFIED COMPLAINT
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  1         117. The District has no compelling reason to lie to or deceive parents or
  2   require teachers to refer to students by their preferred pronouns.
  3         118. The District has no compelling interest in enforcing its Directives to
  4   comply with California or federal law because the Directives are not required by
  5   California or federal law.
  6         119. The individual Defendants should have known that their conduct was
  7   unlawful because district policy prohibits employees from discriminating or
  8   harassing another employee on the basis of the employee’s “actual or perceived . . .
  9   religious creed . . . .” Here, the Defendants were aware of the Plaintiff’s religious
 10   beliefs and sought to compel her to violate her religious beliefs.
 11         120. As a direct and proximate result of Defendants’ violation of the First
 12   Amendment, Plaintiff has suffered, and will suffer, irreparable harm, including the
 13   loss of her fundamental constitutional rights, entitling her to declaratory and
 14   injunctive relief.
 15         121. Additionally, Plaintiff is entitled to nominal damages, compensatory
 16   damages against the individual Defendants in their individual capacity in an amount
 17   to be proven at trial, and attorneys’ fees under 42 U.S.C. § 1988.
 18                            SECOND CAUSE OF ACTION
 19                        Violation of the Free Speech Clause of the
 20                   First Amendment to the United States Constitution
 21                                      (42 U.S.C. § 1983)
 22         122. Plaintiff re-alleges and incorporates by reference the allegations in the
 23   preceding paragraphs 1 through 121, as if fully set forth herein.
 24         123. Pursuant to 42 U.S.C. § 1983, Ms. Tapia brings this claim against JUSD
 25   for acting under color of state law to deprive her of rights secured by the U.S.
 26   Constitution.
 27         124. Ms. Tapia’s religious expression is fully protected under the First
 28   Amendment, which prohibits the government from “abridging the freedom of
                                                 16
                                   FIRST AMENDED VERIFIED COMPLAINT
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                                      1   speech.” This prohibition applies to state and local governments through the
                                      2   Fourteenth Amendment.
                                      3         125. The Directives, and their enforcement, compel Plaintiff’s speech by
                                      4   requiring she use a child’s preferred pronouns.
                                      5         126. Using specific pronouns or affirming a child’s perceived gender
                                      6   identity is neither curricular speech nor part of Plaintiff’s official duties.
                                      7         127. The Directives, and their enforcement, also gag Plaintiff’s speech by
                                      8   prohibiting her from answering truthfully questions asked by parents about their
                                      9   child’s gender identity.
                                     10         128. The Directives, on their face and as applied, regulate Ms. Tapia’s
                                     11   speech, including her religious speech, based on its communicative content, which
                                     12   is a content-based restriction and is presumptively unconstitutional.
                                     13         129. Specifically, the District has ordered Ms. Tapia to refrain from sharing
             FOR FA ITH & FREEDOM
     ADVOCATES




                                     14   her religious beliefs on her social media or in the classroom.
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                                     15         130. JUSD has also engaged in unconstitutional viewpoint discrimination
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                                     16   against Ms. Tapia, as the Directives single out viewpoints about gender identity that
                                     17   require Ms. Tapia affirm a child’s preferred sex, even if it deviates from the child’s
                                     18   biological sex.
                                     19         131. The Directives, on their face and as applied, constitute unconstitutional
                                     20   conditions because they allow the District to deny Ms. Tapia public employment for
                                     21   exercising her religious beliefs. See Koontz v. St. Johns River Water Management
                                     22   Dist., 570 U.S. 595, 604 (2013).
                                     23         132. The Directives, on their face and as applied, are not narrowly tailored
                                     24   to meet any compelling government interest.
                                     25         133. The Defendants have no legitimate, let alone compelling interest, in
                                     26   requiring Plaintiff to adhere to the District’s own ideological beliefs on a
                                     27   controversial matter of public debate because a policy “‘aim[ed] at the suppression’
                                     28   of views” is flatly prohibited. Iancu v. Brunetti, 139 S. Ct. 2294, 2302 (2019). This
                                                                                     17
                                                                     FIRST AMENDED VERIFIED COMPLAINT
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                                      1   “lie[s] beyond the government’s power,” even when the goal is “[a]s compelling as
                                      2   the interest in preventing discriminatory conduct.” Green v. Miss United States of
                                      3   Am., LLC, 52 F.4th 773, 784, 792 (9th Cir. 2022).
                                      4         134. The District has no compelling reason to lie to or deceive parents or
                                      5   require teachers to refer to students by their preferred pronouns.
                                      6         135. The District has no compelling interest in enforcing its Directives to
                                      7   comply with California or federal law because the Directives are not required by
                                      8   California or federal law.
                                      9         136. The Directives are underinclusive because JUSD has exempted
                                     10   individuals from them, including teachers and staff members. The Directives are
                                     11   overinclusive because they prohibit speech that does not “amount to harassing or
                                     12   discriminatory conduct.” Taking Offense v. State, 66 Cal. App. 5th 696, 720 (2021).
                                     13         137. The individual Defendants should have known that their conduct was
             FOR FA ITH & FREEDOM
     ADVOCATES




                                     14   unlawful because district policy prohibits employees from discriminating or
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                                     15   harassing another employee on the basis of the employee’s “actual or perceived . . .
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                                     16   religious creed . . . .” Here, the Defendants were aware of the Plaintiff’s religious
                                     17   beliefs and sought to silence her religious speech, in violation of district policy.
                                     18         138. As a direct and proximate result of Defendants’ violation of the First
                                     19   Amendment, Plaintiff has suffered, and will suffer, irreparable harm, including the
                                     20   loss of her fundamental constitutional rights, entitling her to declaratory and
                                     21   injunctive relief.
                                     22         139. Additionally, Plaintiff is entitled to nominal damages, compensatory
                                     23   damages against the individual Defendants in their individual capacity in an amount
                                     24   to be proven at trial, and attorneys’ fees under 42 U.S.C. § 1988.
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                                                                       FIRST AMENDED VERIFIED COMPLAINT
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  1                              THIRD CAUSE OF ACTION
  2        Violation of the Due Process Clause to the United States Constitution
  3                                       (42 U.S.C. § 1983)
  4          140. Plaintiff re-alleges and incorporates by reference the allegations in the
  5   preceding paragraphs 1 through 139, as if fully set forth herein.
  6          141. The Directives unconstitutionally restrict the ability of Plaintiff to
  7   engage in First Amendment activities.
  8          142. The Directives contain various terms and phrases that are
  9   impermissibly vague and ambiguous.
 10          143. The Directives permit unbridled discretion by permitting JUSD to
 11   determine what actions will warrant the suppression of speech.
 12          144. The Directives, on their face and as applied, encourage arbitrary
 13   enforcement. JUSD disciplines teachers pursuant to the Directives based upon their
 14   subjective interpretation as to what constitutes as discriminatory or harassing speech
 15   or speech that is not respectful.
 16          145. The individual Defendants should have known that their conduct was
 17   unlawful because district policy specifically prohibits district employees from
 18   discriminating “on the basis of . . . religion . . . in any of its policies, procedures or
 19   practices . . . .” Here, the Defendants’ Directives directly targeted the Plaintiff’s
 20   religious beliefs and practices and sought to suppress the Plaintiff’s religious speech.
 21          146. District policy also prohibits employees from discriminating or
 22   harassing another employee on the basis of the employee’s “actual or perceived . . .
 23   religious creed . . . .”
 24          147. As a direct and proximate result of Defendants’ violation of the Due
 25   Process Clause, Plaintiff has suffered, and will suffer, irreparable harm, including
 26   the loss of her fundamental constitutional rights, entitling her to declaratory and
 27   injunctive relief.
 28          148. Additionally, Plaintiff is entitled to nominal damages, compensatory
                                                 19
                                 FIRST AMENDED VERIFIED COMPLAINT
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  1   damages against the individual Defendants in their individual capacity in an amount
  2   to be proven at trial, and attorneys’ fees under 42 U.S.C. § 1988.
  3                            FOURTH CAUSE OF ACTION
  4             Violation of California’s Fair Employment and Housing Act
  5                                (Cal. Gov’t Code § 12940)
  6         149.    Plaintiff re-alleges and incorporates by reference the allegations in the
  7   preceding paragraphs 1 through 148, as if fully set forth herein.
  8         150. FEHA makes it unlawful “[f]or an employer, because of the . . .
  9   religious creed . . . of any person, to refuse to hire or employ the person or to refuse
 10   to select the person for a training program leading to employment, or to bar or to
 11   discharge the person from employment or from a training program leading to
 12   employment, or to discriminate against the person in compensation or in terms,
 13   conditions, or privileges of employment.” Cal. Gov’t Code § 12940(a).
 14         151. FEHA requires employers to reasonably accommodate an employee’s
 15   religious beliefs and practices.
 16         152. The Defendant has discriminated against Plaintiff.
 17         153. The Defendant failed to engage in any reasonable negotiations to
 18   determine if transfers or reassignments were available. Indeed, Ms. Tapia
 19   specifically asked to transfer to another school or to another position where she
 20   would have limited interaction with students.
 21         154. Even still, Defendant failed to offer reasonable accommodations.
 22   Defendant did not, and cannot, demonstrate that providing any accommodations
 23   would impose an undue burden.
 24         155. As a direct and proximate result of Defendants’ violation of FEHA,
 25   Plaintiff has suffered loss of employment and employment benefits, entitling her to
 26   declaratory and injunctive relief and damages against the District.
 27
 28
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                                 FIRST AMENDED VERIFIED COMPLAINT
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  1                             FIFTH CAUSE OF ACTION
  2                                  Violation of Title VII
  3                                 (42 U.S.C. § 2000e, et seq.)
  4         156. Plaintiffs re-allege and incorporate by reference the allegations in the
  5   preceding paragraphs 1 through 155, as if fully set forth herein.
  6         157. Title VII of the Civil Rights Act of 1964 prohibits Defendant JUSD
  7   from discriminating against its employees because of their sincerely held religious
  8   beliefs. See 42 U.S.C. § 2000e-2(a).
  9         158. JUSD’s decision to enforce its directives, including banning religious
 10   expression against only Ms. Tapia—and not other similarly situated employees who
 11   also engage in religious expression—constitutes disparate treatment under the Title
 12   VII of the Civil Rights Act of 1964.
 13         159. JUSD also directly discriminated against Ms. Tapia on the basis of her
 14   religion. JUSD issued directives at Ms. Tapia that targeted her religious expression
 15   on her social media pages and on school grounds.
 16         160. The District’s conduct constitutes discrimination on the basis of
 17   religion under 42 U.S.C. § 2000e-2(a).
 18         161. The District has also failed to engage in any meaningful interactive
 19   process with Plaintiff to determine if a reasonable accommodation is available.
 20         162. Ms. Tapia requested to refer to students by the information provided on
 21   official school records, transfer schools, or to work in a position that had limited
 22   interaction with students. Defendants did not, and cannot, demonstrate that
 23   providing these accommodations would impose an undue burden.
 24         163. The District’s conduct violates 42 U.S.C. § 2000e-(j).
 25         164. As a direct and proximate result of Defendants’ violation of Title VII,
 26   Plaintiff has suffered, and will suffer harm in the loss of her employment and/or
 27   employment benefits, entitling her to declaratory and injunctive relief and damages
 28   against the District.
                                               21
                                FIRST AMENDED VERIFIED COMPLAINT
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  1                              SIXTH CAUSE OF ACTION
  2       Deprivation of Civil Rights Under 42 U.S.C. § 1983 (First Amendment
  3                                       Retaliation)
  4         165. Plaintiff re-alleges and incorporates by reference the allegations in the
  5   preceding paragraphs 1 through 164, as if fully set forth herein.
  6         166. This cause of action is brought pursuant to 42 U.S.C. § 1983 and the
  7   First and Fourteenth Amendments to the United State Constitution.
  8         167. Clearly established law bars the government from retaliating against
  9   Americans for exercising their constitutional rights and from taking actions designed
 10   to deter people from exercising their constitutional rights.
 11         168. Ms. Tapia was engaged in protected speech when she was expressing
 12   her religious beliefs on her personal social media accounts and in her classroom. Her
 13   right to not affirm JUSD’s beliefs on gender identity is also protected.
 14         169. The Defendants retaliated against Ms. Tapia by threatening her loss of
 15   employment if she did not comply with the District’s Directives. The Directives
 16   were presented to her in a take-it-or-leave-it manner.
 17         170. The Defendants threatened Ms. Tapia with loss of employment and
 18   refused to grant her an exemption because of her protected religious expression.
 19         171. The individual Defendants should have known that their conduct was
 20   unlawful because district policy specifically prohibits district employees from
 21   subjecting another employee to punishment or sanction for requesting an
 22   accommodation for any protected characteristic, including religious beliefs.
 23         172. As a direct and proximate result of Defendants’ violation of the First
 24   Amendment, Plaintiff has suffered, and will suffer, irreparable harm, including the
 25   loss of her fundamental constitutional rights, entitling her to declaratory and
 26   injunctive relief. Additionally, Plaintiff is entitled to nominal damages,
 27   compensatory against the individual Defendants in their individual capacity
 28   damages in an amount to be proven at trial, and attorneys’ fees under 42 U.S.C. §
                                                22
                                FIRST AMENDED VERIFIED COMPLAINT
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                                1   1988.
                                2                                  PRAYER FOR RELIEF
                                3
                                            WHEREFORE, Plaintiff prays for relief as follows:
                                4
                                            1.   Nominal damages for violation of her civil rights;
                                5
                                            2.   Damages for Plaintiff in an amount to be proven at trial;
                                6
                                            3.   A   declaratory     judgment     that   the   District’s   Directives   are
                                7
                                                 unconstitutional;
                                8
                                            4.   A declaratory judgment that the District’s directives violate FEHA and
                                9
                                                 Title VII;
                               10
                                            5.   Temporary, preliminary, and permanent injunctive relief requiring the
                               11
                                                 District to reinstate Plaintiff’s employment;
                               12
                                            6.   For costs, attorneys’ fees and interest, as allowed by law; and
                               13
                                            7.   For such other relief the Court determines is proper.
        FOR FAITH & FREEDOM
ADVOCATES




                               14
                               15                                                    Respectfully submitted,
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                               17
                                    DATED: August 3, 2023                ADVOCATES FOR FAITH & FREEDOM
                               18
                               19
                                                                         By:
                               20                                              Julianne Fleischer, Esq.
                                                                               Attorneys for Plaintiff Jessica Tapia
                               21
                               22
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                                                              FIRST AMENDED VERIFIED COMPLAINT
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  1                                        VERIFICATION
  2         I am a party to this action. I am informed, believe, and on that ground allege
  3   that the matters stated in the foregoing FIRST AMENDED VERIFIED
  4   COMPLAINT FOR DEPRIVATION OF THE FREE EXERCISE OF
  5   RELIGION,       DEPRIVATION          OF     THE     FREEDOM          OF    SPEECH,
  6   VIOLATION OF THE DUE PROCESS CLAUSE, VIOLATION OF
  7   CALIFORNIA’S FAIR EMPLOYMENT AND HOUSING ACT, VIOLATION
  8   OF TITLE VII AND FIRST AMENDMENT RETALIATION are true. The
  9   matters stated in the foregoing document are true and based upon my own
 10   knowledge. I believe the matters based upon information and belief are also true.
 11         I declare under penalty of perjury under the laws of the State of California that
 12   the foregoing is true and correct.
 13                      Aug 3, 2023
            Executed on ________________,     Wildomar
                                          at __________________, California.
 14
 15
 16                                                  ____________________________
                                                     Jessica Tapia
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                                FIRST AMENDED VERIFIED COMPLAINT
